Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 1 of 6




                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


   In re:                                              :       Chapter 11

   Miracle Restaurant Group, Inc.                      :       Case No. 24-11158

            Debtors                                    :       Subchapter V



             MOTION FOR ORDER UNDER 11 U.S.C. §§ 105(a) AND 365(a)
       AND FED. R. BANKR. P. 3002 AND 6006 AUTHORIZING THE REJECTION OF
                    EXECUTORY CONTRACTS OF THE DEBTOR

            NOW INTO COURT, through undersigned counsel, comes Miracle Restaurant Group,

   Inc. as debtor and debtor-in-possession (the “Debtor”), who respectfully files this Motion for

   Order Under 11 U.S.C. §§ 105(a) and 365(a) and Fed. R. Bankr. P. 3002 and 6006 Authorizing

   Rejection of Executory Contracts of the Debtor (“Motion”) in order to reject certain franchise

   agreements associated with certain restaurants that the Debtor has determined in its business

   judgment to close.

                  JURISDICTION, VENUE AND STATUTORY PREDICATES

            1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

    and 1334. This Motion concerns the administration of the Debtor’s estate; and therefore, it

    is a core proceeding pursuant to 28 U.S.C. § 157(b).

            2.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

            3.    The statutory predicates for the relief requested herein are 11 U.S.C. § 105(a) and

    365, and Rules 3002 and 6006 of the Federal Rules of Bankruptcy Procedure (the “Rule(s)”).

                        PROCEDURAL HISTORY AND BACKGROUND

            4.    On June 20th ,2024 (the “Petition Date”), the Debtor filed a voluntary petition for

    relief under chapter 11 of the Bankruptcy Code.

   {00382253-2}                                    1
Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 2 of 6




           5.      The Debtor is a party to certain license agreements with Arby’s Franchisor, LLC

    (“Arby’s”) allowing the Debtor to operate certain Arby’s Franchise Restaurants.

           6.      The Debtor seeks authority to reject the license associated with the following stores:



                                    Store Address             Store/Franchise
                                                                 Number
                             2301 Manhattan Blvd,            8735
                             Harvey, LA 70058
                             1331 Golf Road                  1423
                             Rolling Meadows, IL

                             5204 Slide Road           8890
                             Lubbock, TX 79414
                             1000 West Esplanade Ave., 8777
                             Kenner, LA 70065

                             5802 S. Coulter                 8834
                             Amarillo, TX 79119

                             28910 Walker Road South         8874
                             Walker, LA 70785



           The above listed leases shall be referred to herein, collectively, as the “Franchise

           Agreements.”

           7.      The Debtor and its financial advisor have determined that the operation of Arby’s

    stores at the locations listed above is not in the best interests of the Debtor, rendering the Franchise

    Agreements unnecessary.

           8.      The Debtor is also filing a contemporaneous motion to reject the leases for the

    stores listed at the locations above. As such, the Debtor no longer has any need for the Franchise

    Agreements and desires to reject them pursuant to 11 U.S.C. § 365.




   {00382253-2}                                       2
Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 3 of 6




                                       RELIEF REQUESTED

          9.      The Debtor is seeking the authority to reject the Franchise Agreements as the

    stores being operated pursuant to those agreements are no longer beneficial to the Debtor and

    represent a liability in that the stores are not cash flow positive and decrease the value of the

    Debtor’s assets.

          10.     Section 365(a) of the Bankruptcy Code (11 U.S.C. § 101, et seq.) authorizes a

    debtor to reject its executory contracts and unexpired leases subject to the approval of the

    bankruptcy court:

                  (a) Except as provided in . . . subsections (b), (c) and (d) of this
                  section, the trustee, subject to the court’s approval, may assume or
                  reject any executory contract or unexpired lease of the debtor.
   11 U.S.C. § 365(a).

          11.     Courts evaluate a decision to reject an executory contract or unexpired lease under

    the “business judgment” standard. In re J. C. Penney Direct Mktg. Servs., L.L.C., 50 F.4th 532,

    534 (5th Cir. 2022); Lifemark Hospitals, Inc. v. Liljeberg Enters., Inc. (In re Liljeberg Enters.,

    Inc.), 304 F.3d 410, 438 (5th Cir. 2002); NLRB v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d

    Cir. 1982) (“The usual test for rejection of an executory contract is simply whether rejection

    would benefit the estate, the ‘business judgment’ test.”); In re Flambeaux Gas & Elec. Lights

    L.L.C., No. 18-11979, 2019 Bankr. LEXIS 504, at *10 (Bankr. E.D. La. Feb. 20, 2019).

          12.     The standard is satisfied if the debtor determines in its business judgment that the

    rejection of the contract or lease would benefit the estate. “[A]s long as assumption of a lease

    appears to enhance a debtor's estate, a bankruptcy court should only withhold approval when the

    debtor's judgment is clearly erroneous, too speculative, or contrary to the provisions of the

    Bankruptcy Code." J.C. Penney Direct, 50 F.4th at 534 (internal quotes omitted)). See also In re


   {00382253-2}                                    3
Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 4 of 6




    Pisces Energy, LLC, No. 0936591-H5-11, 2009 WL 7227880, at *6 (Bankr. S.D. Tex. Dec. 21,

    2009) (citing Lubrizol Enters., Inc. v. Richmond Metal Finishers, Inc., 756 F.2d 1043, 1046–47

    (4th Cir.1985)); In re MPF Holding U.S. LLS, No. 08-36084, 2013 WL 3197658, at *9 (Bankr.

    S.D. Tex. June 21, 2013); Sharon Steel Corp. v. Nat’l Fuel Gas Distribution Corp. (In re Sharon

    Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989). “A court should defer to a debtor's decision that

    rejection of a contract would be advantageous unless the decision is so unreasonable that it could

    not be based on sound business judgment, but only on bad faith or whim." Balco Equities, 323

    B.R. at 98; In re Pisces Energy, 2009 WL 7227880, at *6; In re G SURVIVOR CORP., 171 B.R.

    755, 757 (Bankr. S.D.N.Y. 1994); In re Pilgrim’s Pride Corp., 403 B.R. 413, 422 (Bankr. N.D.

    Tex. 2009); Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah

    1981) (absent extraordinary circumstances, court approval of a debtor’s decision to assume or

    reject an executory contract “should be granted as a matter of course”). If the trustee’s or debtor’s

    business judgment has been reasonably exercised, a court should approve the assumption or

    rejection of an unexpired lease or executory contract. See, e.g., Richmond Leasing, 762 F.2d at

    1309; In re Idearc Inc., 423 B.R. 138, 162 (Bankr. N.D. Tex. 2009), aff’d, 662 F.3d 315 (5th Cir.

    2011) (“In the absence of a showing of bad faith or an abuse of business discretion, the debtor’s

    business judgment will not be altered”).

          13.     Rejection under Section 365 of the Bankruptcy Code is intended to enable the

    debtor to relieve its estate from burdensome and unprofitable contracts. Stewart Title Guar. Co.

    v. Old Republic Nat’l Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996) (“[Section 365] allows a trustee

    to relieve the bankruptcy estate of burdensome agreements which have not been completely

    performed”) (quoting In re Murexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994)).




   {00382253-2}                                      4
Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 5 of 6




    “Furthermore, it is the debtor who decides whether to maintain the contract, rather than any third

    party.” J. C. Penney Direct, 50 F.4th at 534.

           14.     It is within the Debtors’ sound business judgement to reject the Franchise

    Agreements. The Debtor has performed its due diligence and has determined that the Franchise

    Agreements set forth above should be rejected, as they provide no benefit to the estate.

           15.     To address the issue of any rejection damage claims for feasibility, the Debtor

    proposes a proof of claim deadline of 30 days after the entry of any order approving this Motion

    to assert a claim for rejection damages, with the Debtor reserving all rights to object or

    otherwise respond to any such filed claims.

           WHEREFORE, the Debtor, respectfully requests that this Court enter an Order

   granting the Debtor the authority to reject the Franchise Agreements identified above, setting a

   proof of claim deadline of 30 days after the entry of any order approving this Motion, and for

   all other relief that is just and equitable.




                                           /s/Michael E. Landis
                                           HELLER, DRAPER & HORN, LLC
                                           Douglas S. Draper, La. Bar No. 5073
                                           Leslie A. Collins, La. Bar No. 14891
                                           Greta M. Brouphy, La. Bar No. 26216
                                           Michael E. Landis, La. Bar No. 36542
                                           650 Poydras Street, Suite 2500
                                           New Orleans, LA 70130-6103
                                           Tel: (504) 299-3300
                                           Fax: (504) 299-3399
                                           Email: ddraper@hellerdraper.com
                                                   lcollins@hellerdraper.com
                                                   gbrouphy@hellerdraper.com
                                                   mlandis@hellerdraper.com

                                            Proposed Counsel for the Debtor



   {00382253-2}                                      5
Case 24-11158 Doc 80 Filed 07/15/24 Entered 07/15/24 15:55:45 Main Document Page 6 of 6




                                    CERTIFICTE OF SERVICE



          I, Michael E. Landis, do hereby certify that I caused the above and foregoing to be served
   on July 15, 2024, to all parties entitled to service via the Court’s CM/ECF Electronic Notification
   System as follows:
         H. Kent Aguillard kent@aguillardlaw.com, gina@aguillardlaw.com
         Joseph Patrick Briggett jbriggett@bakerdonelson.com
         Greta M. Brouphy gbrouphy@hellerdraper.com, vgamble@hellerdraper.com
         Jeffrey M. Burmaster jburmaster@kingkrebs.com
         William G. Cherbonnier wgc@billcherbonnier.com, caludagroupllc@jubileebk.net
         Richard Crohan blake.crohan@alston.com
         Douglas S. Draper ddraper@hellerdraper.com, vgamble@hellerdraper.com
         William T. Finn finn@carverdarden.com
         Patrick S. Garrity pgarrity@derbeslaw.com, 23689@notices.nextchapterbk.com
         Amanda Burnette George Amanda.B.George@usdoj.gov
         Jeffrey M Hendricks jhendricks@brickergraydon.com
         Evan Park Howell ehowell@ephlaw.com
         Michael E. Landis mlandis@hellerdraper.com, Vgamble@hellerdraper.com
         Laura J Monroe lmbkr@pbfcm.com
         Dwayne M. Murray dmm@murraylaw.net,
          la18@ecfcbis.com;trustee3@murraylaw.net
         Glenn K. Schreiber glenn.schreiber@usdoj.gov,
          bonnie.bodenheimer@usdoj.gov;caseview.ecf@usdoj.gov;Vanessa.brown@usdoj.gov
         Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov
         David F. Waguespack waguespack@carverdarden.com,
          docket@carverdarden.com;plaisance@carverdarden.com

                                                /s/Michael E. Landis
                                                Michael E. Landis




   {00382253-2}                                    6
